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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 13-640V
                                     Filed: October 30, 2014

* * * * * * * * * * * * * * * *                               UNPUBLISHED
JEFFREY A REID,               *
                              *                               Special Master Gowen
           Petitioner,        *
                              *                               Joint Stipulation;
v.                            *                               Attorneys’ Fees and Costs;
                              *
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
           Respondent.        *
                              *
* * * * * * * * * * * * * * * *

Gerald L. Timmerwilke, Blickhan, Timmerwilke, et al., Quincy, IL, for petitioner.
Darryl R. Wishard, United States Department of Justice, Washington, DC, for respondent.

                     DECISION ON ATTORNEYS’ FEES AND COSTS1

        On September 3, 2014, Jeffrey A. Reid (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that a series of Hepatitis B vaccinations on August 5, 2008, September 13,
2009, and September 26, 2010 caused him to develop Multiple Sclerosis (“MS”). Petition ¶¶ 4,
8. On October 20, 2014, petitioner filed a motion to voluntarily dismiss his petition due to the
inability of petitioner to obtain a supporting medical expert to provide a report on the issue of
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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causation. See Pet’r Mot. for a Decision Dismissing the Petition, filed Oct. 10, 2014. On
October 22, 2014, the undersigned issued a Decision dismissing the petition for insufficient
proof. See Decision of Special Master., filed Oct. 22, 2014.

        On October 29, 2014, the parties filed a stipulation regarding final attorneys’ fees and
costs. Petitioner requests a total award of attorneys’ fees and costs in the amount of $12,000.00.
Respondent does not object. In accordance with General Order #9, petitioner represents that he
did not personally incur costs related to this proceeding. See Stip. of Facts Regarding Final
Attorneys’ Fees and Costs, filed Oct. 29, 2014.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of the parties’ stipulation, the undersigned GRANTS
the request for approval and payment of attorneys’ fees and costs.

       Accordingly, an award should be made as follows:

       (1) in the form of a check jointly payable to petitioner and to petitioner’s attorney, Gerald
       L. Timmerwilke, of Blickhan, Timmerwilke et al., in the amount of $12,000.00.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance herewith.3

       IT IS SO ORDERED.

                                             s/ Thomas L. Gowen
                                             Thomas L. Gowen
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

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